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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JORDAN VARGAS,                                      )
                                                    )
                             Plaintiff,             )      No. 17 CV 180
              vs.                                   )
                                                    )      Judge Durkin
                                                    )
CITY OF CHICAGO, a municipal corporation,           )      Magistrate Judge Cole
MIKE GREMO, STACEY COLLINS,                         )
JUDE DIMALANTA, PAUL WHITE,                         )      JURY DEMAND
JOHN RODRIGUEZ, MELISSA LEHRMANN,                   )
RONALD PELLONARI; ALFREDO SILVA,                    )
and others not presently known to Plaintiff,        )
                                                    )
                             Defendants.            )


                                   NOTICE OF MOTION

         On 25 April 2018, at 9:00 a.m., or as soon thereafter as counsel may be heard, I shall
appear before the Honorable Judge Thomas Durkin, or any judge sitting in his stead, in the
courtroom usually occupied by him in Room 1441 at the U.S.D.C. for the Northern District of
Illinois, Eastern Division, Chicago, Illinois and shall then and there present Defendants’ Motion
to Extend Fact Closure Date for the Limited Purpose of Completing one Deposition.


                                            Respectfully submitted,

                                            SANCHEZ DANIELS & HOFFMAN LLP

                                            By: s/Elaine C. Davenport                   .




                                                  One of the Attorneys for Defendants

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                                CERTIFICATE OF SERVICE

       I hereby certify that on 19 April 2018, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF System which will send notification of such filing to the
following:

                                      Mark F. Smolens
                             MOTTWEILER & SMOLENS, LLP
                            1627 West Colonial Parkway, Suite 301
                                    Inverness, IL 60067


                                                    /s/Elaine C. Davenport                .




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